Case 9:21-cr-80063-DMM Document 2 Entered on FLSD Docket 04/23/2021 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                 21-80063-CR-MIDDLEBROOKS/BRANNON
                            CASE NO.    ----------


 IN RE SEALED INDICTMENT
 -------------
                                       SEALED ORDER

         The United States of America, having applied to this Court for an Order sealing the

 Indictment, arrest warrant, and this Order, and the Court finding good cause:

         IT IS HEREBY ORDERED that the Indictment, arrest warrant, and this Order shall be

 filed under seal until the arrest of the defendant or further order of the Court, however, the

 United States Attorney's Office and law enforcement personnel may obtain copies of the

 Indictment, arrest warrant, or other sealed documents for purposes of arrest, extradition, or any

 other necessary cause.

         DONE AND ORDERED in chambers at Miami, Florida, this � day of April

 2021.




                                                     UNITED STATES MAGISTRATE JUDGE


 cc: Jaime :de Boer, DOJ Trial Attorney
